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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                  11/6/2020
---------------------------------------------------------------X
SISTEM MÜHENDISLIK INSAAT SANAYI                               :
VE TICARET, A.Ş.,                                              :     12-CV-4502 (ALC) (RWL)
                                                               :
                                    Plaintiff,                 :
                                                               :     ORDER
                  - against -                                  :
                                                               :
THE KYRGYZ REPUBLIC,                                           :
                                                               :
                                    Defendant.                 :
---------------------------------------------------------------X
ROBERT W. LEHRBURGER, United States Magistrate Judge.

        Whereas on July 28, 2020, this Court issued an order requiring Defendant’s

remaining counsel of record by August 4, 2020, to either confirm continued representation

of Defendant or move to withdraw; and

        Whereas at defense counsel’s request the August 4, 2020 deadline was extended

to August 14, 2020; and

        Whereas defense counsel of record has not complied with the Court’s order;

        By November 20, 2020, defense counsel of record – Grant McCrea – shall file with

the Court either (1) a letter confirming continued representation of the Defendant, or (2)

a motion to withdraw. Failure to comply with this order may result in sanctions against

counsel.

                                                     SO ORDERED.



                                                     _________________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE
Dated: November 6, 2020
       New York, New York
